Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 1 of 19 PageID #: 366




                   PRACTICES & PROCEDURES
              DISTRICT JUDGE JAMES R. SWEENEY II
                                  INTRODUCTION

    Counsel appearing before District Judge James R. Sweeney II are expected to read
 and comply with these Practices & Procedures. Because each case is unique,
 however, counsel should feel free to raise any concerns that counsel may have about
 the appropriateness of these Practices & Procedures to the particular case at hand.
 Inquiries should be directed to the Courtroom Deputy Clerk, Ben Rogers, at 317-229-
 3746. Judge Sweeney may also alter them sua sponte as appropriate in a particular
 case.

                                PROFESSIONALISM

    Attorneys entering an appearance in this Court necessarily agree to comply with
 the Indiana Rules of Professional Conduct, as amended from time to time by the
 Indiana Supreme Court. L.R. 83-5(e). They also necessarily agree to comply with
 the Seventh Circuit Standards of Professional Conduct, L.R. 83-5(e), which are
 available                 here:                   http://www.ca7.uscourts.gov/rules-
 procedures/rules/rules.htm#standards.     Those standards, among other things,
 delineate the Circuit’s and Judge Sweeney’s minimum civility expectations for
 counsel. In the unlikely event that counsel should engage in conduct inconsistent
 with these rules, Judge Sweeney will not hesitate to take appropriate action.

                               MOTIONS PRACTICE

    Motions for Extension of Time, in General

    Judge Sweeney expects that counsel will act with reasonable diligence with
 respect to counsel’s cases before him. Counsel have considerable input in the
 development of the case management plan, and therefore the Court reasonably
 expects compliance with the deadlines within the Case Management Plan (“CMP”).
 However, if counsel believes that an extension of a deadline is necessary, counsel
 should (1) contact opposing counsel to determine whether opposing counsel will object
 and (2) file a motion for extension of time including the position of opposing counsel.

    Like counsel, Judge Sweeney and the magistrate judges face competing demands
 on their time. Thus, absent truly unforeseen and unforeseeable circumstances—
 which are rare—counsel cannot reasonably expect the Court to forsake other pending
 matters to immediately consider motions for extension of time. Counsel are


                                           1
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 2 of 19 PageID #: 367




 therefore advised to file such motions as far in advance as possible. Consistent with
 Local Rule 6-1(a)(5), absent extraordinary circumstances or unless a longer period is
 ordered (for example, in the entry setting a settlement conference before the
 magistrate judge), counsel must file motions for extension of time at least three full
 business days in advance of the deadline to be continued. The failure to do so,
 without adequate explanation for the delay, may result in a summary denial of the
 motion.

    Motions to Extend the Dispositive Motion Deadline

     The Court’s Uniform Case Management Plan anticipates at least 180 days
 between the dispositive motion deadline and trial. This time period is intended to
 provide (1) the parties with time to fully brief the dispositive motion and (2) the Court
 with sufficient time to review the motion and, within the context of other matters on
 the docket, to prepare an opinion sufficiently in advance of trial so that the parties
 are aware of the issues to be resolved at trial. Counsel should not seek any extension
 of time of the dispositive motion deadline if it would shorten the 180-day period. If
 the 180-day time period is compromised by any extension sought, the scheduled trial
 date may be lost.

    Deposition Excerpts

    Whenever a party relies upon a deposition excerpt to support or oppose a motion,
 the party should cite to the specific page and line numbers of the deposition. The
 party should provide the relevant excerpts—and the three pages immediately
 preceding and following each excerpt—as an exhibit.                The Court may
 summarily deny motions that do not include the relevant excerpts of the pertinent
 depositions.

    Summary Judgment Motions

     If a party plans to file a motion for summary judgment, counsel for that party shall
 contact counsel for the other parties to the action to determine if any other party also
 plans to file a motion for summary judgment. In the event that more than one party
 plans to file a motion for summary judgment, Judge Sweeney prefers to avoid
 simultaneous briefs on “mirror image” motions. Rather than the normal brief,
 response, and reply for each motion, he prefers four briefs as follows on cross-motions
 for summary judgment:

    1.     Motion and Brief in Support by Party A (limited to 35 pages);




                                            2
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 3 of 19 PageID #: 368




     2.    Cross-Motion, Brief in Support and Response in Opposition by Party B
 (limited to 55 pages);

    3.     Reply in Support of Motion and Response in Opposition to Cross-Motion by
 Party A (limited to 40 pages); and

    4.     Reply in Support of Cross-Motion by Party B (limited to 20 pages).

    Permission to file a brief in excess of these page limitations will be granted only
 upon motion supported by extraordinary and compelling reasons. “Collateral
 motions in the summary judgment process, such as motions to strike, are disfavored.
 Any dispute regarding the admissibility or effect of evidence should be addressed in
 the briefs.” L.R. 56-1(i).

     IMPORTANT NOTE REGARDING SUMMARY JUDGMENT: If the motion
 at issue is a Motion for Summary Judgment, make sure that the brief complies with
 Local Rule 56-1(e), which provides: “A party must support each fact the party asserts
 in a brief with a citation to a discovery response, a deposition, an affidavit, or other
 admissible evidence. The evidence must be in the record or in an appendix to the
 brief. The citation must refer to a page or paragraph number or otherwise similarly
 specify where the relevant information can be found in the supporting evidence.” See
 also Fed. R. Civ. P. 56(e); Bluestein v. Cent. Wis. Anesthesiology, S.C., 769 F.3d 944,
 948 n.1 (7th Cir. 2014) (not crediting version of facts omitting citations to particular
 parts of the record). Complying with these rules requires the party to specifically
 cite to evidence for each fact set forth in the fact and argument sections.

     Failure to comply with Local Rule 56-1(e) or Fed. R. Civ. P. 56(e) may
 result in unsupported facts being disregarded or in an order requiring re-
 filing of a compliant brief.

    Descriptive Identifiers on Electronically Filed Exhibits

    See Appendix A to these Practices and Procedures for specific examples and
 screenshots of proper descriptive identifiers on electronically filed exhibits.

    It is critically important that exhibits be filed before supporting briefs so that the
 supporting briefs cite to the docket numbers of the previously-filed exhibits. This
 significantly facilitates the Court’s review of the motion and briefs as well as the
 parties’ review of the filed materials.

   When electronically filing exhibits to any motion, appendix, or index, number the
 exhibits and add a descriptive identifier for the exhibits, e.g., “Exhibit 1 –


                                            3
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 4 of 19 PageID #: 369




 Affidavit of John Smith” instead of just “Exhibit 1,” or “Exhibit 2 – Deposition Excerpt
 of Jane Doe pp. 21-25” instead of just “Exhibit 2.”

    Citation Form

    See Appendix A to these Practices and Procedures for specific examples and
 screenshots of proper citation format.

    In a supporting brief, cite to the docket number, the attachment number (if any),
 and the applicable .pdf page as it appears on the docket information located at the
 top of the filed document. For example:

              Mr. Smith signed an employment agreement with ABC
              Corporation on May 1, 2012. (ECF No. 42-8 at 5.)

 That citation would refer to page five of attachment eight to the item filed as docket
 number 42.

                   CONSENTING TO A MAGISTRATE JUDGE

     Here in the Southern District of Indiana, we are fortunate to have highly qualified
 magistrate judges. Counsel in civil cases are, therefore, encouraged to discuss with
 their clients the benefits of consenting to have the assigned magistrate judge preside
 over the matter pursuant to Federal Rule of Civil Procedure 73. For example,
 because magistrate judges have few criminal matters—which must be given priority
 on the docket—magistrate judges can generally resolve civil matters faster than a
 district judge. For these reasons, the parties are also encouraged to consent to the
 referral of particular matters to the magistrate judges, such as motions to dismiss or
 for summary judgment, change of venue, remand, or more definite statement. Of
 course, parties remain free to withhold consent without adverse substantive
 consequences.

                                         TRIAL

    The Final Pretrial Conference

    1.     The Court will hold a final pretrial conference before the trial. Counsel
 must be prepared to argue any pending motions, objections, and jury instructions at
 that conference.

     2.    The Court will issue an order setting deadlines for certain filings in advance
 of the final pretrial conference. Strict compliance with those deadlines is required,


                                            4
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 5 of 19 PageID #: 370




 and the deadlines may differ from those set forth in the CMP.

    3.      The parties are expected to work together to prepare the filings required by
 the final pretrial order.

    4.     Motions in limine should be filed as one document numerically listing each
 issue to be addressed. Leave of Court must be sought to raise more than 10 issues.
 The party responding to the motion must respond to each numerically listed issue
 with either “no objection” or “objection” and then state the reasons for the objection
 with citation to case law.

    5.         The agenda for the final pretrial conference typically includes the following
 items:

          a.      Discuss voir dire process, length of opening statements, and length of
                  closing arguments.

          b.      Review witness lists to determine who will testify and the subjects of
                  their testimony.

          c.      Discuss stipulations.

          d.      Review exhibit lists and discuss admissibility and objections. Bring
                  copies of proposed exhibits to conference.

          e.      Discuss testimony that will be offered by way of deposition and
                  objections.

          f.      Discuss motions in limine and objections.

          g.      Discuss preliminary instructions and objections.

          h.      Discuss status of final jury instructions, objections, and verdict forms.

          i.      Discuss status of possible settlement.

    General Trial Matters

     1.    Counsel are expected to know the Federal Rules of Civil Procedure, the
 Federal Rules of Evidence, and the Local Rules of the United States District Court
 for the Southern District of Indiana. A copy of the Local Rules can be obtained either
 from the Clerk’s Office or on the Internet at http://www.insd.uscourts.gov/local-rules.



                                               5
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 6 of 19 PageID #: 371




    2.    Colloquy or argument directly between attorneys is not permitted.         All
 remarks should be addressed to the Court.

    3.     Colloquy between co-counsel or between counsel and parties when opposing
 counsel is questioning or arguing is inappropriate.

    4.     Do not exhibit familiarity with witnesses, jurors, opposing counsel, or the
 Court staff in the presence of the jury. During argument to the jury, no juror should
 be addressed individually or by name.

    5.    No person in the courtroom should ever exhibit, by facial expression, body
 movement, or other conduct, any opinion (e.g., surprise, happiness, disbelief, or
 displeasure) concerning any testimony, attorney argument, or any particular ruling
 by the Court. Counsel should admonish their clients and witnesses to avoid such
 behavior. Visitors who cannot abide by this requirement will be asked to leave the
 courtroom.

    6.     Do not ask the Court Reporter to mark testimony. All requests for re-
 reading of questions or answers should be addressed to the Court.

     7.    After trial has begun, documents not filed electronically should be tendered
 to the Courtroom Deputy for filing, rather than to the Clerk’s Office.

    Court Hours and Promptness

     1.    The trial day generally begins before 9:00 a.m. and continues until about
 5:00 p.m. with appropriate recesses, as needed. Times to recess and adjourn may
 vary slightly, to permit the conclusion of a witness’ testimony, to allow counsel to
 finish with direct or cross-examination, or to allow the Court to attend to other
 business. The Court prefers not to hold witnesses over for testimony on the following
 day if avoidable. At the conclusion of each trial day, counsel should be prepared to
 discuss the witness schedule for the following day.

     2.    The Court makes every effort to commence proceedings at the time set.
 Counsel should be in the courtroom at least 15 minutes prior to the start of each day’s
 proceedings and 30 minutes prior to the start on the first day of trial as the Court
 may want to meet with counsel. The Court makes every effort to proceed with trial
 at the specified times. Counsel, parties, and witnesses should be on time. Counsel
 should ensure that their witnesses have proper identification to enter the courthouse.
 The Courtroom Deputy should be informed of any anticipated scheduling problems,
 and the Court will attempt to work with counsel to resolve them.



                                           6
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 7 of 19 PageID #: 372




    3.    If a witness was on the stand at a recess or adjournment, that witness
 should be on the stand ready to proceed when the trial resumes.

    4.    If the conclusion of a witness’ testimony is followed by a recess or
 adjournment, the next witness should be ready to take the stand when the trial
 resumes.

   5.    If a witness’ testimony is expected to be brief, have the next witness
 immediately available, ordinarily in the witness room.

    6.     Do not run out of witnesses at any time during a given day.

    7.      The Court attempts to accommodate the schedules of non-party witnesses
 and will consider permitting them to testify out of sequence. Anticipate any such
 possibility, discuss it with opposing counsel, and advise the Courtroom Deputy. If
 there is an objection, advise the Courtroom Deputy in advance.

    8.    If both parties expect to call a witness, the Court will usually require all
 questioning of the witness when called in the plaintiff’s case. If a party believes non-
 leading questions should be asked of the witness, leave can be requested under
 Federal Rule of Evidence 611.

    Opening Statements and Closing Arguments

     1.    Counsel should stand at the lectern during the opening statement and
 closing argument, but counsel may ask the Court for permission to leave the lectern.

     2.     The Court will honor counsel’s reasonable requests concerning the amount
 of time for opening statements and closing arguments. These limits will ordinarily
 be set at the final pretrial conference.

    3.     During the argument of opposing counsel, remain seated at the counsel
 table and be respectful. Never divert the attention of the Court or the jury. Counsel
 should so instruct their clients and witnesses.

    4.     During opening statements, do not use an exhibit as to which admissibility
 has not been stipulated unless you have raised the matter in advance with the Court
 and opposing counsel.

     5.    Confine opening statements to what you expect the evidence to show. It is
 not proper to use the opening statement to argue the case, to instruct as to the law,
 or to express counsel’s personal opinion.


                                            7
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 8 of 19 PageID #: 373




    6.    If plaintiff is going to suggest a damages number to the jury, that number
 must be stated in the opening segment of plaintiff’s closing argument, so defendant
 has an opportunity to respond.

   7.      Although plaintiff is permitted to open and close final arguments, the large
 majority of the time must be spent in the opening portion.

    8.   Jurors’ comments after trials have indicated that they resent long closing
 arguments. Be brief.

    9.      Closing argument should never include statements of counsel’s personal
 beliefs or insults to opposing counsel.

    10.  Counsel are encouraged to refer to the final jury instructions during closing
 argument.

    The Venire and Voir Dire

    1.    A list of the venire and copies of questionnaires that the venire have
 completed will be available to counsel the Friday before the trial starts. As soon as
 the jury has been chosen, the questionnaires must be returned to the Courtroom
 Deputy.

    2.     Seating of the venire will be discussed at the final pretrial conference and
 the practice will vary, in part, based on the courtroom being used for trial. Voir dire
 ordinarily will be conducted of all prospective jurors at the same time.

    3.        A seating chart will be available the morning of trial.

     4.    The Court will initiate and conduct the first part of the voir dire. Pursuant
 to the Court’s scheduling orders, counsel may submit before trial any questions they
 would like the Court to ask.

    5.     After the Court concludes its voir dire, counsel may have a brief opportunity
 to question the panel. Whether counsel will have an opportunity to question the
 panel, and if so, for how long, will be decided at the final pretrial conference. Counsel
 conducting voir dire should do so standing at the lectern.

    6.        Examples of inappropriate voir dire:

         a.      Argument.




                                               8
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 9 of 19 PageID #: 374




         b.      Asking jurors if they will be able to enter a certain verdict.

    7.    In civil cases, each side will be entitled to a minimum of three peremptory
 challenges for the entire venire. On a case by case basis, depending on the number
 of prospective jurors summoned and the number of prospective jurors excused for
 cause, additional peremptory challenges may be granted. When all challenges have
 been completed and there are more prospective jurors than required, the appropriate
 number of jurors will be chosen from those with the lowest order of draw numbers.

    8.    In criminal cases, the government will be entitled to six peremptory
 challenges; the defense will be entitled to ten peremptory challenges; plus any
 additional challenges for alternate jurors pursuant to Fed. R. Crim. P. 24.

    9.     All peremptory challenges will be exercised simultaneously and in writing.
 A party cannot collaborate with another party while exercising challenges without
 leave of Court.

    10.    In civil cases, the Court ordinarily seats a jury of eight members.
 However, in certain cases, based upon the expected length of the trial, additional
 jurors may be seated. There are no alternate jurors in civil cases; all jurors selected
 will participate in deliberations.

    Facilities

    1.    If counsel wish to use the Court’s Video Evidence Presentation System
 (“VEPS”) they should notify the Courtroom Deputy at the final pretrial conference.

    2.     If counsel wishes to use any other equipment such as an easel, a dry erase
 board, etc. then they will need to provide such materials themselves.

    3.    If a witness room will be available, the Courtroom Deputy will notify
 counsel before trial begins. If available, the witness room will be open during trial.
 Witnesses should generally be asked to report to the witness room.

    4.     The facilities of the chambers, including the telephones and the copier, are
 not available to counsel during trial. Counsel should enter chambers and the jury
 room only with permission of the Court staff.

    5.      Cellular phones may be used outside the courtroom, but must be turned off
 (not just on silent or vibrate) in the courtroom absent prior approval from the Court

    6.        Unless otherwise directed, tables in the well area are not assigned by party


                                               9
 Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 10 of 19 PageID #: 375




  in civil cases. The first party to arrive on the first morning of the trial has first
  choice. Parties are, of course, permitted to agree between themselves.

     7.    On days of trial, the courtroom will be opened a half hour before the
  scheduled start time, but can be opened earlier by special request made to the
  Courtroom Deputy.

      8.     The courtroom will be locked during the lunch recess (unless by agreement
  of all parties), and Court staff will not be present to watch any materials left in the
  courtroom.

     9.     The courtroom will be locked overnight.

     10.    Food and drinks are not allowed in the courtroom, except for bottled water.

     11.   A pitcher of water and cups will be made available for each table and the
  witness chair.

     Examination of Witnesses

    1.     Witnesses should be treated with appropriate fairness and consideration.
  They should not be shouted at, ridiculed, or otherwise abused.

     2.    Counsel should conduct examination of witnesses from the lectern but may
  request permission to approach a witness.

     3.    Avoid responding to answers with editorial comments of approval or
  disapproval. Such responses are likely to draw a quick rebuke without a private
  warning.

     4. 4. When the trial begins, provide the Court and the Court Reporter with a list
  of witnesses you expect to call. Please attempt to have the correct spellings for the
  Court Reporter.

     5.     Have all witnesses spell their names on the record.

     Objections to Questions

      1.   Stand when making objections. This calls the Court’s attention to you and
  allows you to be heard more readily.

     2.     When making an objection, state only that you are objecting and specify the



                                            10
  Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 11 of 19 PageID #: 376




  ground or grounds for that objection.

     3.    Do not use objections for the purpose of making a speech, recapitulating
  testimony, or attempting to guide the witness.

      4.    The Court may ask for a brief response from opposing counsel. Further
  argument upon the objection will not be heard until permission is given or argument
  is requested by the Court.

      5.    Where more than one attorney appears for a given party, the attorney who
  handles the direct examination of a witness shall also make any objection when the
  witness is being examined by other counsel. The same attorney shall also respond
  to any objections of the other party. The attorney who will cross-examine a witness
  shall make any objection during direct testimony.

     Difficult Questions—Advance Notice

         If counsel have reason to anticipate that any question of law or evidence is not
  routine, will provoke an extensive argument, or will require a proffer outside the
  presence of the jury, counsel should confer and attempt to resolve the matter. If
  agreement is not possible, counsel should give advance notice to the Court to allow
  for appropriate scheduling arrangements to be made.

     Stipulations

      1.    Stipulations concerning exhibit admissibility and authenticity, as well as
  stipulations of fact, are not only encouraged but expected.

    2.     The preferred exhibit stipulation for jury trials is that exhibits are
  admissible and may be used at any place in the trial.

     3.      The preferred exhibit stipulation for bench trials is that exhibits are
  admissible and may be used at any place in the trial; only exhibits mentioned during
  the trial will be considered as having been admitted into evidence, unless the parties
  specifically stipulate otherwise.

     Use of Depositions at Trial

     1.     Pretrial orders in civil cases will ordinarily require advance designation of
  depositions or deposition excerpts to be offered at trial. This matter will ordinarily
  be addressed in pretrial conference.



                                            11
  Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 12 of 19 PageID #: 377




     2.     Where a deposition is to be read for impeachment purposes, the relevant
  excerpts must be identified orally for the record by line and page reference. Before
  using portions of depositions for impeachment, counsel should ordinarily allow the
  witness to read them after the identification has been made for the record. A
  deposition used for impeachment need not be filed or marked as an exhibit.

     3.   Confer with opposing counsel to edit depositions to be used at trial, and
  remove unnecessary material. This also applies to video depositions.

     4.     If a deposition is to be read at trial, those portions to be read shall be
  marked on the original transcript and the original transcript shall be marked as an
  exhibit and offered as an exhibit at trial. However, the exhibit shall not be included
  with the exhibits provided to the jury for its deliberations.

     5.      If a video deposition is to be shown at trial, both the video and the original
  transcript of the deposition (with the portions to be shown marked) shall be marked
  and offered as exhibits, but shall not be included with the exhibits provided to the
  jury for its deliberations.

     6.     If a deposition is to be read at trial other than for impeachment, the party
  seeking to use the deposition shall place a person in the witness box. Counsel
  seeking to use the deposition shall read the selected questions, and the witness in the
  box shall read the answers of the deposed witness to those questions.

     7.     If a deposition is to be used at trial other than for impeachment and
  objections were made at the deposition, counsel should confer before the final pretrial
  conference, and any disputed issues will be addressed at the final pretrial conference.

     8.    The parties should stipulate, if possible, that the reading of depositions not
  be taken by the reporter.

     9.     Summaries of deposition transcripts are acceptable only by stipulation.

     10.    Medical experts who routinely examine and treat patients in their practices
  and who have been deposed in a particular case will be presumed by the Court to be
  “unavailable” for in-court testimony pursuant to Fed. R. Civ. P. 32(a)(4) so that their
  deposition testimony may be offered into evidence at trial in that case by any party.
  This presumption also applies to treating health care providers even if their
  deposition testimony is being offered based on firsthand observations rather than as
  expert opinion. The purpose of this presumption is to avoid the inconvenience and
  delay to jurors, health care providers, and their patients caused by the scheduling of



                                             12
  Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 13 of 19 PageID #: 378




  in-court trial testimony. If a party objects to the application of this presumption and
  the admissibility of deposition testimony instead of in-court testimony from such a
  witness, a written objection to the presumption, containing a showing of good cause
  why the admission of deposition testimony only from that witness would be
  prejudicial, must be filed at least 30 days before the trial date. A party opposing
  such an objection can still attempt to demonstrate under Fed. R. Civ. P. 32 that the
  deposition testimony ought to be admitted.

     Exhibits

      1.     Exhibits should be marked for identification before trial and a descriptive
  list provided to the Court and the Court Reporter the Friday before trial.

     2.      All exhibits should be identified by number only (“Exhibit 1” as opposed to
  “Plaintiff’s Exhibit 1” for example). Counsel shall confer and agree from the
  commencement of discovery on a numbering system that will avoid confusion and
  duplication. It is recommended that the parties utilize a numbering system in which
  the first deposition exhibit is marked No. 1 and so on up to No. 8, for example, for the
  last one. The first exhibit in the second deposition should be marked No. 9 and so on.
  Thus, for example, the employment contract would be the same exhibit with the same
  number for all depositions. Then, the same exhibit numbers would be used for trial
  purposes. Numbers for trial exhibits need not be consecutive.

      3.     Unless the introduction of exhibits is governed by stipulations, or
  paragraph 2 or 3 above, counsel should move for the admission of stipulated exhibits
  at the beginning of trial. If neither of these procedures is used, exhibits should be
  offered in evidence when they become admissible, rather than at the end of a witness’
  testimony or counsel’s case.

     4.     The Court expects counsel to prepare sufficient copies of documentary
  exhibits for each juror, 2 for the Court, 1 for the witness stand, and 1 for opposing
  counsel. In civil trials that will usually mean 12 total, and in criminal trials that
  will usually mean 16 total. If more than a few documents are involved, the Court
  strongly urges that exhibit notebooks with tabs be prepared for each juror, the Court,
  the witness stand, and opposing counsel. This practice might not be necessary when
  some exhibits are too bulky or if there are other reasons not to use individual copies.
  This subject will be discussed at the final pretrial conference, and counsel must
  comply with whatever instructions are given at the final pretrial conference.

      5.     Demonstrative exhibits should be shown to the opposing counsel before
  trial. If there is an objection to a demonstrative exhibit, the parties must raise it to


                                            13
  Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 14 of 19 PageID #: 379




  the Court at the first opportunity. A demonstrative exhibit to which there is an
  objection should not be shown to the jury at any point without leave of Court.

     6.      During the trial, exhibits admitted into evidence are kept on the table in
  front of the jury box or at the witness stand if exhibits are contained in a notebook or
  notebooks. Each counsel is responsible for exhibits taken from the table or the
  witness stand. At each recess or adjournment, return all exhibits to the table or
  witness stand. Exhibits which have been offered but not admitted are also part of
  the record of the case and are kept by the Courtroom Deputy.

     7.     Each counsel shall keep a list of admitted exhibits. Counsel and the
  Courtroom Deputy shall confer at the close of the evidence to ensure that only
  admitted exhibits are sent to the jury. Controlled substances, currency, firearms, or
  other dangerous materials are generally not sent with the jury; counsel are asked to
  substitute photographs.

     8.     If an exhibit must be marked for identification in open Court, counsel
  should state for the record what they are doing and describe briefly the nature of the
  exhibit. Counsel should not expect the Court to provide exhibit labels.

     9.     Ordinarily, exhibits admitted into evidence may be displayed to the jury at
  the time of admission or in conjunction with other exhibits at the conclusion of the
  witness’ examination by the “offering” counsel, but permission of the Court should be
  sought before doing so.

      10.   When counsel or witnesses refer to an exhibit, mention should also be made
  of the exhibit number so that the record will be clear.

     11.    Where maps, diagrams, pictures or similar materials are being used as
  exhibits, and locations or features on such documents are being pointed out by
  witnesses or counsel, such locations should be indicated by appropriate markings on
  the documents if they are not readily apparent from the exhibits themselves.
  Marking on exhibits should be made only after considering the views of opposing
  counsel and only after receiving the Court’s permission. Counsel should then
  describe the markings for the record.

     12.    Where counsel expect to offer answers to interrogatories or requests for
  admissions extracted from several separate documents, prepare copies of the
  individual materials rather than thumbing through extensive files while the Court
  and the jury wait for counsel to locate the particular items. The copies should only
  be the particular interrogatory or request to admit together with the caption and



                                            14
  Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 15 of 19 PageID #: 380




  signature page. These materials should ordinarily be the subject of stipulations and
  should be addressed at the final pretrial conference.

     13.    For all documents not in notebooks, but which may be admitted into
  evidence, have an appropriate number of copies available on three-hole punched
  paper, so that if admitted, the exhibits may be distributed to the jury, the Court,
  opposing counsel, and the Courtroom Deputy for inclusion in the notebook or
  notebooks kept at the witness stand.

     14.    Each page of each exhibit should have an identifying number.

      15.   If deposition exhibits will be referred to at trial, either during impeachment
  or from reading a transcript or showing a video, and the numbering thereof is not
  consistent with the numbering system used at trial, a stipulation containing a cross-
  reference to trial exhibit numbers and any deposition exhibits to which reference may
  be made at trial should be utilized.

     16.  If over-sized exhibits or models are to be used, counsel need to make
  arrangements with the Courtroom Deputy at least two weeks before start of trial.

      17.    When using easels, over-sized exhibits, or models, be sure there is a proper
  line of sight for the jury, Court, witness, and counsel.

     18.    Demonstrative exhibits are not sent to the jury room for deliberations,
  unless the parties agree otherwise.

     Jury Instructions and Verdict Forms

     1.    Electronically file and serve proposed jury instructions and verdict forms
  pursuant to the pretrial orders.

     2.    A Microsoft Word version of filed jury instructions and verdict forms must
  be emailed to Ben_Rogers@insd.uscourts.gov.

     3.     Each tendered instruction must include citations to authority on which
  counsel relies.

      4.    The Court will convene an instructions conference at an appropriate time,
  generally near the conclusion of all the evidence. The conference will be held either
  at the end of a day, early in the morning, or at the conclusion of all testimony,
  depending on the circumstances of the particular case. The Court will provide drafts
  of the jury instructions and verdict forms to counsel, and the conference will be held


                                            15
  Feb-19 Version
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 16 of 19 PageID #: 381




  on the record to discuss objections.

     5.      The Court will read the final jury instructions to the jury before closing
  arguments unless the parties agree otherwise. The jury will be given their own
  copies of the final jury instructions.

     Jurors

     .Jurors are permitted to take notes in notebooks and in the exhibit books, and
  their notebooks and exhibit books accompany them during their deliberations.

     Transcripts

     1.    Parties desiring daily transcript of testimony must make their own
  arrangements, at least two weeks in advance of the start of the trial, directly with
  the Court Reporter.

     2.    Parties desiring a transcript of Court proceedings must make their own
  arrangements with the Court Reporter, preferably before the start of the particular
  proceeding.

     3.     Before trial, counsel shall provide the Court Reporter with a list of words,
  terms, technical terminology, proper names, acronyms, and case citations that would
  not be found in a typical spell check.




                                           16
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 17 of 19 PageID #: 382




                                    APPENDIX A

  PROCEDURE FOR FILING EXHIBITS AND PROPER CITATION
        FORM WHEN FILING A MOTION OR BRIEF

                    FOR JUDGE JAMES R. SWEENEY II
                           STEP ONE – FILING EXHIBITS


        •   It is critically important that exhibits be filed before supporting briefs so
            that citations in supporting briefs are to the docket numbers of the
            previously-filed exhibits. This facilitates the Court’s review of the motion
            and briefs as well as the parties’ review of the filed materials.

        •   IF FILING A MOTION WITH SUPPORTING BRIEF: Before filing
            the supporting brief, electronically file the motion and attach any
            exhibits that will be cited in the supporting brief as exhibits to the motion.

            Example:

   03/01/2012      38   MOTION for Summary Judgment, filed by Plaintiff ROBERT
                        SMITH. (Attachments: # 1 Exhibit 1 Johnson Aff., # 2
                        Exhibit 2 Johnson Dep. Excerpts)(Jones, John) (Entered:
                        03/01/2012)



        •   IF FILING A RESPONSE, REPLY, OR SURREPLY: File an appendix
            or index of exhibits first, and attach any exhibits that will be cited in the
            supporting brief as exhibits to the appendix or index.

            Example:

   03/30/2012      42 Appendix of Exhibits in Support of RESPONSE in Opposition
                      re 38 MOTION for Summary Judgment, filed by Defendant
                      ABC CORPORATION. (Attachments: # 1 Exhibit A: Smith
                      Dep. Transcript, # 2 Exhibit B: Smith Dep. Exhibits 1-27, # 3
                      Exhibit C: Smith Dep. Exhibits 27-30, # 4 Exhibit D: Smith
                      Dep. Exhibits 31-36, # 5 Exhibit E: Smith Dep. Exhibits 37-

                                            17
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 18 of 19 PageID #: 383




                       48, # 6 Exhibit F: Baker Dec. with Exhibits 1-6, # 7 Exhibit G:
                       Jackson Dec. with Exhibits 1-3, # 8 Exhibit H: Smith
                       Employment Agreement (White, Susan) (Entered: 03/30/2012)



        •   When electronically filing exhibits to any motion, appendix, or index,
            number the exhibits and add a descriptive identifier for the exhibits,
            e.g., “Exhibit 1 – Affidavit of John Smith” instead of just “Exhibit 1,” or
            “Exhibit 2 – Deposition Excerpt of Jane Doe pp. 21-25” instead of just
            “Exhibit 2.”

            Example:

        Attachment Description
        1               Exhibit A: Smith
                        Dep. Transcript          52 pages             4.1 mb
                        Excerpts
        2               Exhibit B: Smith
                                                 32 pages             3.8 mb
                        Dep. Exhibits 1-5
        3               Exhibit C: Jones
                        Dep. Transcript          51 pages             4.5 mb
                        Excerpts
        4               Exhibit D: Jones
                                                 38 pages             2.4 mb
                        Dep. Exhibits 1-3
        5               Exhibit E: Smith
                        Employment               15 pages             1.3 mb
                        Agreement
        6               Exhibit F: Jones
                        Employment               15 pages             1.1 mb
                        Agreement
        7               Exhibit G: Jackson
                        Dec. with Exhibits       20 pages             1.7 mb
                        1-3
        •   If a party relies upon a deposition excerpt to support or oppose a motion,
            the party should provide the relevant excerpts – and the three pages
            immediately preceding and following each excerpt – as an exhibit.

                                            18
Case 2:20-cv-00357-JRS-DLP Document 10 Filed 07/12/20 Page 19 of 19 PageID #: 384




                           STEP TWO – CITING EXHIBITS


        •   In the supporting brief, cite to the docket number, the attachment
            number (if any), and the applicable .pdf page as it appears on the
            PACER docket information located at the top of the filed document.
            For example:

                  Mr. Smith signed an employment agreement with ABC
                  Corporation on May 1, 2012. (ECF No. 42-8 at 5.)

            That citation would refer to page five of attachment eight to the item filed
            as docket number 42 (the Appendix of Exhibits in support of ABC
            Corporation’s Response Brief, in the example above).

        •   When citing to deposition transcripts, cite to the specific page and line
            numbers of the deposition in addition to the docket number and page
            number citation format set forth above.      For example, to cite the
            underlined text below:




     The proper cite would be (Johnson Dep. Tr. 10:4–13, ECF No. 38-2 at 3.)

  Failure to comply with these filing and citation procedures may
   result in motions or briefs being stricken or arguments being
                               waived.
                                            19
